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                                                                           Exhibit A
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                                                                          Exhibit B
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                                                                           Exhibit B
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                                                                           Exhibit B
